                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:94-cr-00040-W
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 TONY OSIAS (2),                                    )
                                                    )
                Defendant.                          )
                                                    )

       THE MATTER is before the Court on Defendant’s pro se Motions for Termination of
Supervised Release (Docs. Nos. 164, 168). Defendant’s supervised release is set to expire on August
5, 2009. The Court has already denied Defendant’s previous motions to modify the conditions of
and for early termination of his supervised release (Docs. Nos. 139, 145, 149, 157). Although it
objected to the prior motions, the Government has not filed any response to Defendant’s instant
motions. Nevertheless, the Court telephonically contacted United States Probation Officer William
Lester, who is responsible for supervising Defendant in the Middle District of Florida, who
recommended that Defendant should remain on supervised release.
       Defendant has failed to show good reason why the Court’s original sentence, including its
provisions for supervised release, should be modified to allow for early termination of supervised
release. For this reason, and after consideration of the relevant factors in 18 U.S.C. § 3553(a), the
conduct of Defendant, the interests of justice, and the recommendation of United States Probation
Office, the Court finds that termination of supervised release would be premature at this time.
       IT IS THEREFORE ORDERED that Defendant’s Motions for Termination of Supervised
Release (Docs. Nos. 164, 168) are DENIED.
       IT IS SO ORDERED.
                                                    Signed: September 16, 2008




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